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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

   UNITED STATES OF AMERICA

       v.                                                Civil No. ELH-23-2058
                                                         Criminal No. ELH-19-0160
   DEMETRIOS STAVRAKIS,
       Defendant.

                                             ORDER
       In the Memorandum Opinion docketed at ECF 440, the Court declined to issue a Certificate

of Appealability as to defendant’s post-conviction petition (ECF 406).              However, the

accompanying Order (ECF 439) does not specifically reflect that ruling. Therefore, for the reasons

stated in ECF 440, it is this 2nd day of August, 2024, by the United States District Court for the

District of Maryland, hereby ORDERED:

       As to ECF 406, the Court declines to issue a Certificate of Appealability, without prejudice

to the right of the defendant to request a Certificate of Appealability from the United States Court

of Appeals for the Fourth Circuit.



                                                                    /s/
                                                             Ellen Lipton Hollander
                                                             United States District Judge
